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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION

    IN RE: 3M COMBAT ARMS                   Case No. 3:19-md-2885
    EARPLUG PRODUCTS
    LIABILITY LITIGATION
                                            Judge M. Casey Rodgers
    This Document Relates to:               Magistrate Judge Gary R. Jones
    All Cases


         PLAINTIFF’S EMERGENCY MOTION FOR PRELIMINARY
           INJUNCTION AGAINST DEFENDANT 3M COMPANY

         Pursuant to the All Writs Act, 28 U.S.C. § 1651(a), and Local Rule 7.1(L),

Plaintiff, Richard Valle, respectfully asks this Court to enjoin 3M Company and any

party acting on 3M’s behalf, from filing any motion, action, proceeding, brief, or

other judicial filing that seeks to enjoin parties from pursuing CAEv2 related claims

against 3M in this MDL or in district courts where MDL cases have been remanded,

or from supporting and/or advocating in favor of any other party seeking to enjoin

any parties from pursuing CAEv2 related claims against 3M in this MDL or in

district courts where MDL cases have been remanded.1 Given the imminent harm,

Plaintiff respectfully asks for an expedited briefing schedule such that any

opposition be due within 7 days and a hearing to follow within 2 days.



1
   This motion is solely directed at 3M Company, who is not a debtor in the
bankruptcy, In re Aearo Technologies LLC, et al., 22-02890 (Bankr. S.D. Ind.), and
is not subject to the automatic stay. MDL Dkt. 3329
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      This motion is based on the accompanying memorandum of law, declaration,

and exhibits in support of Plaintiff’s motion for a preliminary injunction.



 Dated: August 3, 2022                   /s/ Ashley C. Keller

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                  REQUEST FOR EMERGENCY TREATMENT

      Pursuant to Local Rule 7.1(L), and given the imminent harm as more fully

described in the accompanying memorandum, Plaintiff requests a ruling more

promptly than would occur in the ordinary course of business because.
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                    REQUEST FOR ORAL ARGUMENT

      Pursuant to Local Rule 7.1(K), Plaintiff requests oral argument on this

Emergency Motion and estimate that one hour shall be required for such argument.
